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                             No. 24-10277



               UNITED STATES COURT OF APPEALS
                  FOR THE ELEVENTH CIRCUIT



             INSURANCE MARKETING COALITION, LTD.
                          Petitioner,

                                   v.

          FEDERAL COMMUNICATIONS COMMISSION and
                UNITED STATES OF AMERICA,
                        Respondents.


                  On Petition for Review of an Order of
                the Federal Communications Commission



  REPLY IN SUPPORT OF MOTION OF NATIONAL CONSUMERS
LEAGUE, MARK SCHWANBECK, MICAH MOBLEY, CHRISTOPHER
 MCNALLY, AND CHUCK OSBORNE TO INTERVENE [ECF NO. 63]



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         Insurance Marketing Coalition Ltd. v. FCC, Case No. 24-10277

                 CERTIFICATE OF INTERESTED PERSONS

      Under Eleventh Circuit Rules 26.1-1, 26.1-2(c), and 27-1(a)(10), undersigned

counsel for Proposed Intervenors certifies that the following is a full and complete

list of all persons, firms, associations, partnerships, and corporations, including

subsidiaries, conglomerates, affiliates, parent corporations, and other legal entities

having an interest in the outcome of this case:

      1. Aggarwal, Sameer, Covington & Burling LLP, counsel for Petitioner;

      2. Boeglin, John A., Covington & Burling LLP, former counsel for

         Petitioner;

      3. Carter, Carolyn, National Consumer Law Center, counsel for Amicus

         Curiae National Consumer Law Center;

      4. Citrin, Sarah E., Federal Communications Commission, counsel for

         Respondent;

      5. Covington & Burling LLP, counsel for Petitioner;

      6. Dori, Yaron, Covington & Burling LLP, counsel for Petitioner;

      7. Dunne, Matthew J., Federal Communications Commission, counsel for

         Respondent;

      8. Electronic Privacy Information Center, Amicus Curiae;
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    9. Ellison, P. Michele, Federal Communications Commission, counsel for

       Respondent;

    10. Federal Communications Commission, Respondent;

    11. Garcia, Nicholas, Public Knowledge, counsel for Amicus Curiae Public

       Knowledge;

    12. Glover, Matthew J., Covington & Burling LLP, counsel for Petitioner;

    13. Greenburg, Sally, Intervenor National Consumers League;

    14. Insurance Marketing Coalition Limited, Petitioner;

    15. Iorio, Megan, Electronic Privacy Information Center, counsel for Amici

       Curiae;

    16. King, Kevin F., Covington & Burling LLP, counsel for Petitioner;

    17. Lewis, Jacob Matthew, Federal Communications Commission, counsel for

       Respondent;

    18. McNally, Christopher K., Intervenor;

    19. Mobley, Micah, Intervenor;

    20. Murray, Teresa, Amicus Curiae U.S. PIRG;

    21. National Consumer Law Center, Amicus Curiae and counsel for Intervenor

       National Consumers League;

    22. National Consumers League, Intervenor;
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     23. Nicholls, Leah M., Public Justice, counsel for Intervenors;

     24. Nicholson, Robert B., U.S. Department of Justice, counsel for Respondent;

     25. Osborne, Chuck, Intervenor;

     26. Public Justice, counsel for Intervenors;

     27. Public Knowledge, Amicus Curiae;

     28. Saunders, Margot, National Consumer Law Center, counsel for Amicus

        Curiae National Consumer Law Center;

     29. Schwanbeck, Mark, Intervenor;

     30. United States of America, Respondent;

     31. U.S. PIRG, Amicus Curiae;

     32. Wagner, Jennifer S., National Consumer Law Center, counsel for

        Intervenor National Consumers League;

     33. Wiggers, Robert J., U.S. Department of Justice, counsel for Respondent;

     34. Witte, Erin, Consumer Federation of America, counsel for Amicus Curiae

        Consumer Federation of America.

March 7, 2025                          /s/ Jennifer S. Wagner
                                       Jennifer S. Wagner

                                       Counsel for Proposed Intervenor
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                                 INTRODUCTION

        On February 19, 2025—well within the timeframe to file a motion for

rehearing en banc and shortly after it became clear that the Respondents Federal

Communications Commission (FCC) and United States of America (collectively,

the Government) would not do so—National Consumers League (NCL), Mark

Schwanbeck, Micah Mobley, Christopher McNally, and Chuck Osborne

(collectively, Proposed Intervenors) moved to intervene to defend the FCC’s 2023

Order at issue in this proceeding (the One-to-One Rule or Rule). Dkt. No. 63.

        While the Government has taken no position on the motion, Petitioner

Insurance Marketing Coalition Ltd. (IMC) insists that the motion cannot be granted

resting largely on its inaccurate assertion that the motion is time-barred. Dkt. No. 66

at 1-6.1 As demonstrated in their motion and below, Proposed Intervenors filed their

motion as soon as it became clear that the Government would not continue to defend

the Rule. As a result, good cause exists for filing at this time, before which

intervention would have been duplicative and unnecessary, and the motion is thus

timely. IMC goes on to invite this Court to invent new legal standards for

intervention. However, the motion and Proposed Intervenors’ plan to seek rehearing

en banc, whether or not the Government does so, is authorized pursuant to the



1
 Proposed Intervenors citations refer to the page numbers at bottom center of IMC’s
brief.

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express terms of the Hobbs Act. 28 U.S.C.A. § 2348. As a result, the motion should

be granted.

                                     ARGUMENT

     I.      The Motion Is Timely.

          IMC largely rests on its argument that Proposed Intervenors’ motion is

untimely. IMC misunderstands the law.

          IMC asserts that Rule 15(d) “mandates,” without exception, filing of any

motion to intervene within thirty days of the petition for review. Dkt. No. 66 at 1.

This is not the case. As the Sixth Circuit has explained, Rule 15(d) does not present

a jurisdictional bar; instead, courts “retain authority to waive” the deadline when

appropriate, including for equitable reasons.2 Int’l Union of Operating Eng’rs, Loc.

18 v. Nat’l Lab. Rels. Bd., 837 F.3d 593, 595 (6th Cir. 2016); see also Zeigler Coal

Co. v. Off. of Workers’ Comp. Programs, 490 F.3d 609, 610 n.1 (7th Cir. 2007)

(excusing untimeliness under Rule 15(d) for good cause shown and allowing

intervention); United Gas Pipe Line Co. v. FERC, 824 F.2d 417, 436 n.22 (5th Cir.

1987) (noting the court’s “practice has been at times to grant motions for leave to

intervene [under Rule 15] out of time”); Brown v. Dir., Off. of Workers' Comp.

Programs, U.S. Dep't of Lab., 864 F.2d 120, 123 (11th Cir. 1989) (explaining that



2
 11th Cir. R. 15-4, which uses the permissive “may” to refer to the timeframe
clarifies the non-mandatory nature of the timeframe in the Rule.

                                          2
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statutory time limits are considered jurisdictional, while time limits in rules are not).

Moreover, Rule 2 permits the Court “broad equitable discretion” to suspend or

extend timeframes within the Rules, without motion of the parties. Torres v. Oakland

Scavenger Co., 487 U.S. 312, 314 (1988); see Fed. R. App. P. 2(a).

        In light of the circumstances, the Court should exercise that discretion here.

As discussed in their opening brief, Proposed Intervenors’ interests were well

protected prior to the Government’s change in position on January 24, 2025, when—

after prior vigorous defense of the Rule, including opposition to any stays—the

Government suddenly agreed to a delay in the effective date of the Rule and has

indicated that it will not seek rehearing.3 Doc. 63 at 15-17. Indeed, adopting IMC’s

requested rule that intervention never be permitted more than thirty days after filing

of a petition would lead to a potential flood of unnecessary interventions by entities

who have wholly overlapping (and thus fully protected) interests with the

government, filed just in case of the remote possibility that the government would

someday change its position.4 See United Airlines, Inc. v. McDonald, 432 U.S. 385,


3
  The Government has not responded to Proposed Intervenors’ motion, which it
would have done if it planned to continue its defense of the Rule. See Mississippi
Bankers Assoc. v. Consumer Fin. Prot. Bureau, No. 3:24-CV-792-CWR-LGI, 2025
WL 694462, at *3 (S.D. Miss. Mar. 4, 2025) (“[T]he CFPB’s failure to take a
position on intervention is telling; the agency could have used that opportunity to
communicate the vigor of its anticipated defense, but elected not to do so. The
adequacy of the CFPB’s representation is therefore legitimately in question.”)
4
  IMC cites several cases for the proposition that organizations do, sometimes,


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394 n.15 (1977) (in different context, explaining that a rule requiring early

intervention “would serve no purpose. Intervention at that time would only have

made the respondent a superfluous spectator in the litigation for nearly three years”

and would require interested parties to file “protective motions to intervene to guard

against” the remote possibility that their interests would later not be

represented). This would not serve the process and efficiency goals of Rule 15,

which was adopted simply to create a workable and efficient process, pursuant to the

Hobbs Act, for review of final agency orders. See Advisory Comm. Notes, 1967

General Note, Fed. R. App. P. 15. Notably, the Hobbs Act does not impose a timing

requirement on intervention, although it does explicitly state that intervenors may

take action when the government fails to act. Id.; 28 U.S.C.A. § 2348. At minimum,

the fact that Proposed Intervenors interests were previously wholly represented

explains why they had good cause for filing their motion outside of the thirty-day

period.5



intervene in these cases. Dkt. No. 66 at 4 & n.4. Proposed Intervenors do not disagree
that intervention is possible. However, none of the cases cited by IMC support its
proposition that intervention must occur within thirty days of filing of the petition—
indeed, none discuss the timing of the interventions (or any issues related to
intervention, Rule 15, or the Hobbs Act’s intervention requirements) whatsoever.
5
  It is also worth noting that none of the Proposed Intervenors other than NCL would
have been able to intervene as of right earlier in these proceedings. See Alabama
Power Co. v. F.C.C., 311 F.3d 1357, 1366 (11th Cir. 2002) (“Under 28 U.S.C.
§ 2348, only parties to the agency proceeding can intervene as of right, while
intervention by a nonparty is discretionary.”)

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      IMC asks this Court to ignore Proposed Intervenors’ explanation of why they

properly filed their motion at this time, asserting that “adequacy of representation is

not a relevant factor” under Rule 15. Dkt. No. 66 at 4. But because “Rule 15(d) does

not provide standards for intervention . . . appellate courts have turned to the rules

governing intervention in the district courts under Fed. R. Civ. P. 24.” Sierra Club,

Inc. v. E.P.A., 358 F.3d 516, 517-18 (7th Cir. 2004) (granting motion to intervene

where intervention is necessary to pursue a party’s interest when the government

fails to pursue en banc review or a petition for certiorari before the Supreme Court).

Thus, Proposed Intervenors’ reliance on Cameron v. EMW Women’s Surgical

Center, 595 U.S. 267 (2022) is appropriate, contrary to IMC’s contentions, Dkt. No.

66 at 5-6. While Cameron did involve intervention outside the context of Rule 15,

the Court only mentioned that fact in permitting intervention where there was no

specific rule in place allowing it to do so. Cameron, 595 U.S. at 276. The Court’s

admonition that “timeliness is to be determined from all the circumstances and the

point to which a suit has progressed is not solely dispositive,” was not limited by

that factor and still stands in this context as a consideration for good cause in

allowing this motion after the thirty-day period. Id. at 279 (marks and citation

omitted). Notably, IMC tries to have it both ways by criticizing Proposed

Intervenor’s reliance on Cameron, due to that case’s reliance on Federal Rule of

Civil Procedure Rule 24, but itself relying on Amalgamated Transit Union Int’l,



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AFLC-CIO v. Donovan, 771 F.2d 1551 (D.C. Cir. 1985), Dkt. No. 66 at 6, which

also considers timeliness under Federal Rule of Civil Procedure 24. Of course, the

D.C. Circuit opinion in Amalgamated well predates the U.S. Supreme Court opinion

in Cameron, which finds intervention in a nearly identical circumstance as here

(after the panel had issued its decision) to be timely.

      IMC further contends that allowing intervention after the thirty-day period is

inappropriate because Proposed Intervenors did not explicitly invoke Rule 26(b)—

which “for good cause shown” allows the court to “permit an act to be done after

that time expires,” Fed. R. App. P. 26(b)—in their motion. Dkt. No. 66 at 3 n.3. But

IMC is overly formalistic. Indeed, the cases interpreting timeliness under Rule 15

have not required a formal Rule 26 motion, see Int’l Union of Operating Eng’rs,

Loc. 18, 837 F.3d at 595; United Gas Pipe Line Co, 824 F.2d at 436 n.22, and at

least one court has construed a request to intervene filed outside the thirty-day period

as a motion for leave to file the notice of intervention out of time, Apple Inc. v. Optis

Cellular Tech., LLC, No. 2021-1043, 2020 WL 7753630, at *1 (Fed. Cir. Dec. 21,

2020). The Court may do the same here, where Proposed Intervenors functionally,

if not formally, requested an extension of time under Rule 26 in their opening brief

by both recognizing the thirty-day time period in Rule 15(d) and articulating good

cause for not filing their motion to intervene during that period. See Dkt. No. 63 at

17-21; see Torres v. Oakland Scavenger Co., 487 U.S. 312, 316-17 (1988) (“[I]f a



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litigant files papers in a fashion that is technically at variance with the letter of a

procedural rule, a court may nonetheless find that the litigant has complied with the

rule if the litigant’s action is the functional equivalent of what the rule requires.”);

see also Harris v. United States, 808 F. App'x 849, 851 (11th Cir. 2020) (citing

Torres for this proposition).

         In short, equity and good cause support permitting Proposed Intervenors to

participate in this litigation at this stage, when their interests are suddenly no longer

protected—whether under Rule 2, Rule 15, or Rule 26. Proposed Intervenors do not

seek to re-litigate this matter and will not prejudice either the Court or the parties by

appearing at this stage of the proceedings, as Proposed Intervenors only seek to

advance the case as the Government would if it was still defending the Rule. Nor do

Proposed Intervenors plan to invoke any new arguments that would not have been

advanced by the Government, if the Government were continuing its defense of the

Rule, or to change any deadline at issue in this matter. As a result, good cause exists

to permit Proposed Intervenors to intervene in this matter solely to advance their

request for a rehearing of the panel decision and participate in any subsequent

briefing and argument on the merits.

   II.      IMC’s Second and Third Arguments Contravene the Hobbs Act and
            All Applicable Law.

         In its second and third arguments, IMC asks this Court to develop entirely

new law that contravenes the Hobbs Act’s express provisions, Rule 15, and all

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applicable caselaw. IMC’s invitation should be rejected.

      A. NCL’s Amicus Brief Does Not Preclude Intervention.

      IMC first asserts that because NCL previously filed an amicus brief before the

Eleventh Circuit panel, all Proposed Intervenors should now be precluded from

intervening to seek rehearing en banc. IMC cites no caselaw for this proposition, and

none exists.

      IMC misapprehends the purpose of NCL’s request to intervene—it is not to

“provide the Court with information” that it had access to through the amicus brief,

Dkt. No. 66 at 7. Rather, NCL seeks to intervene to request rehearing and advance

the arguments the Government would make if it were still defending the Rule, and

it does so solely in light of the Government’s changed position. This is a wholly

different purpose that was not served by their prior appearance as amicus. Cf.

Mausolf v. Babbitt, 85 F.3d 1295, 1302 (8th Cir. 1996) (reversing order that denied

intervention while allowing amicus participation); Newport News Shipbuilding &

Drydock Co. v. Peninsula Shipbuilders’ Ass’n, 646 F.2d 117, 121–22 (4th Cir. 1981)

(“This practical disadvantage or impediment was not significantly relieved by

allowing the Board to participate as amicus in the district court proceeding. . . . More

importantly, lacking party status the Board had no right to seek review by appeal of

any decision affecting its identified substantive interests.”); Feller v. Brock, 802 F.2d

722, 730 (4th Cir. 1986) (“Participation by the intervenors as amicus curiae is not



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sufficient to protect against these practical impairments. Amicus participants are not

able to make motions or to appeal the final judgment in the case.”). Instead, as IMC

elsewhere concedes, an organization’s prior involvement in the proceedings

mitigates in favor of permitting its intervention, not against it. See Dkt. No. 66 at 3

(noting that the Hobbs Act permits NCL to intervene as of right); 28 U.S.C.A.

§ 2348.

      Further, this argument has no bearing on the other four Proposed

Intervenors—Mark Schwanbeck, Micah Mobley, Chirstopher K. McNally, and

Chuck Osborne—individual business owners who have not previously filed an

amicus brief before this Court, although they have otherwise properly demonstrated

their interests in this proceeding (which IMC does not contest).

      B. The Hobbs Act Expressly Permits Intervenors to Stand in the
         Government’s Shoes.

      IMC finally argues that by permitting intervention, the Court would

impermissibly allow Proposed Intervenors to “usurp the Government’s authority.”

Dkt. No. 66 at 7. This argument is nonsense. The Hobbs Act plainly states that “any

intervenor may prosecute, defend, or continue the proceeding unaffected by the

action or inaction of the Attorney General.” 28 U.S.C.A. § 2348 (emphasis added).

And even when there is no clear authorizing statute like the Hobbs Act, courts still

allow intervenors to engage in litigation when the government choses to not advance

the case on appeal or rehearing. See, e.g., Sierra Club, Inc. v. E.P.A., 358 F.3d 516,

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518 (7th Cir. 2004).

      Moreover, IMC appears to forget that Proposed Intervenors seek to intervene,

not to substitute themselves for the Government, and that it is this Court, not any

party, that will resolve the legal issues in this case. This Circuit can hear from IMC,

Proposed Intervenors, and the Government on whether to grant rehearing en banc,

and if it does so, what the outcome will be. If the Government—as it appears is the

case—has decided cease participation in the litigation, it can forgo doing so; if it

wishes to advance an argument either for or against rehearing or on the merits, it can

do that as well. Granting intervention—again, as expressly authorized by the Hobbs

Act—will do nothing to inhibit or usurp the Government’s authority.

                                  CONCLUSION

      For these reasons, the motion to intervene should be granted.

March 7, 2025                           Respectfully Submitted,

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                      CERTIFICATE OF COMPLIANCE

      The foregoing motion complies with the length limit of Fed. R. App. P.

27(d)(2) because, excluding the parts exempted by Fed. R. App. P. 32(f), it contains

2,475 words. This motion complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6) because it has

been prepared in proportionally spaced typeface, using Microsoft Word, in Times

New Roman 14-point font.


March 7, 2025                          /s/ Jennifer S. Wagner
                                       Jennifer S. Wagner

                                       Counsel for Proposed Intervenor
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                          CERTIFICATE OF SERVICE

      I hereby certify that on March 7, 2025, the foregoing reply was filed

electronically with the Clerk of Court through the appellate CM/ECF system. I

further certify that all parties required to be served have been served.


March 7, 2025                           /s/ Jennifer S. Wagner
                                        Jennifer S. Wagner

                                        Counsel for Proposed Intervenor
